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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to the Other Broker Tranche

                                               ORDER

            THIS CAUSE came before the Court sua sponte. On June 15, 2022, Plaintiffs, Erik

   Chavez and Peter Jang filed their Amended Complaint [ECF No. 483]. Accordingly, it is

            ORDERED AND ADJUDGED that Defendant, Apex Clearing Corporation has until

   June 22, 2022 to file its response. If Defendant files a motion to dismiss, the parties shall brief

   the motion in accordance with the requirements of, including the time limits set by, the Local

   Rules.

            DONE AND ORDERED in Miami, Florida, this 16th day of June, 2022.



                                                   ________________________________________
                                                   CECILIA M. ALTONAGA
                                                   CHIEF UNITED STATES DISTRICT JUDGE

   cc:      counsel of record
